                            UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 JUSTIN G. PACHECO, individually,
 and on behalf of all others similarly
 situated,                                                    Case No. 6:21-cv-01177-RBD-DCI

        Plaintiff,

 v.

 CRUNCH FITNESS,

        Defendant.
                                                     /


                                  NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that JUSTIN G. PACHECO (“Plaintiff”) and CRUNCH

FITNESS (“Defendant”), hereby notify the Court that the parties have reached settlement as to

Plaintiff’s individual claims only. Plaintiff intends on dismissing the class claims without

prejudice. The parties are in the process of completing the settlement and intend on filing dismissal

papers within 45 days.

 DATED: September 21, 2021                           Respectfully submitted,

                                                     /s/ Alexander J. Taylor

                                                     Alexander J. Taylor, Esq., Of Counsel
                                                     Florida Bar No. 1013947
                                                     Sulaiman Law Group, Ltd.
                                                     2500 S. Highland Ave, Suite 200
                                                     Lombard, IL 60148
                                                     Telephone: (630) 575-8181
                                                     Facsimile: (630) 575-8188
                                                     ataylor@sulaimanlaw.com
                                                     Counsel for Plaintiff


                                                 1
2
